           Case 15-13329-elf           Doc 62-1 Filed 01/17/18 Entered 01/17/18 19:14:51                                 Desc
                                          Exhibit Default Letter Page 1 of 1


                                        PHELAN HALLINAN DIAMOND & JONES, LLP
                                                       1617 JFK Boulevard, Suite 1400
                                                           One Penn Center Plaza
                                                           Philadelphia, PA 19103
                                                                215-563-7000
                                                       Bankruptcy Fax # 215-568-7616
Jerome Blank, Esquire                                                                                  REPRESENTING LENDERS IN
BANKRUPTCY ATTORNEY                                                                                           Pennsylvania


     1/5/2018

     BRAD J. SADEK, ESQUIRE
     1315 Walnut Street, Suite 502
     PHILADELPHIA, PA 19107
     SENT VIA REGULAR MAIL AND FAX TO (215) 545-0611

     RE:        ALEXANDER VULAKH AND MARINA VULAKH
                Bankruptcy No.: 15-13329 ELF

     Dear Counselor:

              Our client has advised us that payments have not been made in accordance with the terms of the Stipulation
     agreed to by the parties and approved by the Bankruptcy Court by an Order entered on December 6, 2016.
                Pursuant to the terms of the Stipulation, your client has failed to make regular monthly payments, for the months
     of November 2017 through December 2017 in the amount of $2,352.17, for the month of January 2018 in the amount of
     $2,365.93, less Debtors' suspense in the amount of $814.77. In order to cure this default, it will be necessary for your client
     to remit $6,255.50, representing payments past due under the terms of the Stipulation, within ten (10) days from the date of
     this letter.
            Your clients' payment to cure this default should be remitted to: Phelan Hallinan Diamond & Jones, LLP,
     1617 JFK Boulevard, Suite 1400, One Penn Center Plaza Philadelphia, PA 19103, ATTN: BANKRUPTCY DEPT.
     and made payable to OCWEN LOAN SERVICING, LLC (WEST PALM BEACH, FL).
              If your client does not remit the above amount within the ten (10) day period, we will certify default
     with the Bankruptcy Court and request relief from the automatic stay.

                                                                     JASON SEIDMAN, Legal Assistant
                                                                     Phelan Hallinan Diamond & Jones, LLP

     cc:     ALEXANDER VULAKH
             MARINA VULAKH
             WILLIAM C MILLER, ESQUIRE (TRUSTEE)
             UNITED STATES TRUSTEE
             OCWEN LOAN SERVICING, LLC (WEST PALM BEACH, FL)
             ATTENTION: BANKRUPTCY DEPARTMENT
             ACCOUNT NO.: XXXXX41404

      THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION WE
      OBTAIN WILL BE USED FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY RECEIVED A DISCHARGE
      IN BANKRUPTCY, THIS CORRESPONDENCE IS NOT AND SHOULD NOT BE CONSTRUED TO BE AN
      ATTEMPT TO COLLECT A DEBT, BUT ONLY ENFORCEMENT OF A LIEN AGAINST PROPERTY
